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 5
     Attorneys for Mark D. Waldron, Chapter 11 Trustee
 6

 7
 8                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF WASHINGTON
 9

10   In re:                                      Case No. 18-03197

11   GIGA WATT, Inc., a Washington               The Honorable Frederick P. Corbit
     corporation,
12                                               Chapter 11
13                       Debtor.                 NOTICE OF CHAPTER 11
                                                 TRUSTEE’S APPLICATION FOR
14                                               ORDER APPOINTING
                                                 BANKRUPTCY MANAGEMENT
15                                               SOLUTIONS, INC. D/B/A STRETTO
                                                 AS CLAIMS AND NOTICING
16                                               AGENT AND ADMINISTRATIVE
                                                 ADVISOR PURSUANT TO 28 U.S.C.
17                                               § 156(c), 11 U.S.C. §§ 105(a) AND
                                                 327(a)
18

19
          PLEASE TAKE NOTICE that Mark D. Waldron, in his capacity as the
20
     duly appointed Chapter 11 trustee (“Trustee”) in the bankruptcy case of the
21

22

23 Notice of Application

24 for Order Authorizing Retention of
   Stretto as Claims and Noticing Agent, etc. - Page 1
25
 18-03197-FPC11     Doc 291   Filed 05/07/19   Entered 05/07/19 16:33:01   Pg 1 of 3
 1 above-captioned debtor, has respectfully applied (“Application”)1 for entry of an

 2 order authorizing the employment and retention of Bankruptcy Management

 3 Solutions, Inc. d/b/a Stretto (“Stretto”) as the claims and noticing agent in this

 4 chapter 11 case for the Clerk of the Bankruptcy Court for the Eastern District of
 5 Washington (the “Clerk”) and to serve as administrative advisor.

 6        PLEASE TAKE FURTHER NOTICE that by the Motion, the Trustee is

 7 requesting permission to hire Stretto to provide critical administrative support,
 8 including setting up and hosting a website so that creditors may easily access

 9 filings and deadlines in the case. Stretto will provide assistance in serving notice

10 of filings in the case. Stretto will also assist in the management of the
11 approximately 340 claims that have been filed in this case. Stretto has agreed to

12 waive a significant portion of its fees in this case, including any fees for setting up

13 the website.
14        PLEASE TAKE FURTHER NOTICE that the Applications and its

15 supporting papers and exhibits, including the proposed agreement with Stretto,

16 may be obtained from the Clerk of the above-captioned Court.

17        PLEASE TAKE FURTHER NOTICE that if you oppose the Motion, then

18 WITHIN TWENTY-FOUR DAY (24) DAYS FROM THE DATE OF SERVICE

19 BY MAIL AS INDICATED BELOW, you must file your written response with

20 the Court Clerk, U.S. Bankruptcy Court, Eastern District of Washington, 904

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22   1
    Unless otherwise defined herein, capitalized terms in this Notice have the
   meanings ascribed to them in the Motion.
23 Notice of Application

24 for Order Authorizing Retention of
   Stretto as Claims and Noticing Agent, etc. - Page 2
25
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 1 West Riverside Ave., Suite 304, Spokane, WA 99201 or, if by mail, the Court
 2 Clerk, U.S. Bankruptcy Court, Eastern District of Washington, P.O. Box 2164,

 3 Spokane, WA 99210-2164 and serve a copy upon (1) undersigned counsel at CKR

 4 Law LLP, 506 Second Ave., 14th Floor, Seattle, WA 98114 and (2) James
 5 Perkins, Office of The United States Trustee, 920 West Riverside Avenue, Suite

 6 593, Spokane, WA 99201-1012.

 7       PLEASE TAKE FURTHER NOTICE that the Court may enter an order

 8 without an actual hearing or further notice unless a written objection is timely

 9 served and filed. If an objection is timely served and filed, you will receive notice

10 of the date and time of a hearing on your objection.
11       DATE OF SERVICE BY MAIL: MAY 8, 2019

12 Dated: May 7, 2019                          CKR LAW LLP

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14                                             _________________________________
                                                Pamela M. Egan
15
                                                Attorneys for Mark D. Waldron,
16                                              Chapter 11 Trustee
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23 Notice of Application

24 for Order Authorizing Retention of
   Stretto as Claims and Noticing Agent, etc. - Page 3
25
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